           Case 1:16-cr-02044-SAB                  ECF No. 144            filed 05/12/21           PageID.2095 Page 1 of 9
 AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                                                        FILED IN THE
                                                                                                                                     U.S. DISTRICT COURT
                      Sheet 1                                                                                                  EASTERN DISTRICT OF WASHINGTON




                                        UNITED STATES DISTRICT COURT                                                           May 12, 2021
                                                     Eastern District of Washington                                                 SEAN F. MCAVOY, CLERK



             UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                        v.
             JASON WILLIAM CATHCART                                        Case Number:          1:16-CR-02044-SAB-1
                                                                           USM Number:           20724-085
                                                                                                       Jeremy B Sporn
                                                                                                        Defendant's Attorney




THE DEFENDANT:
 ☒ pleaded guilty to count(s)           1 and 2 of the Indictment
       pleaded nolo contendere to count(s)
 ☐     which was accepted by the court.
       was found guilty on count(s) after a
 ☐     plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section               /             Nature of Offense                                                   Offense Ended                Count
  18 U.S.C. 2251(a) PRODUCTION OF CHILD PORNOGRAPHY                                                                  03/31/2016                  1
  18 U.S.C. 2251(a) PRODUCTION OF CHILD PORNOGRAPHY                                                                  03/31/2016                  2




        The defendant is sentenced as provided in pages 2 through 9                  of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) Count 3                                                          ☒ is ☐ are dismissed on the motion of the United States
      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                5/10/2021
                                                                Date of Imposition of Judgment




                                                                Signature of Judge


                                                                The Honorable Stanley A. Bastian                  Chief Judge, U.S. District Court
                                                                Name and Title of Judge
                                                                5/12/2021
                                                                Date
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                      Sheet 2 - Imprisonment

 DEFENDANT:            JASON WILLIAM CATHCART
 Case Number:          1:16-CR-02044-SAB-1


                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:       300 months as to Count 1; 300 months as to Count 2. Terms to run concurrent
           Sentence shall also run concurrent with defendant’s Yakima County Court cause numbers 16-1-00620-39.

         Court sentences defendant to 360 months with credit for time served of 60 months for a total sentence of 300 months as
outlined above.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that defendant serve his State sentence at the facility in Airway Heights, WA, where he was previously.
The Court also recommends that after his State sentence is complete, he serve his sentence at FCI Englewood, CO., if he is eligible
pursuant to U.S. Bureau of Prisons guidelines.


 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

            ☐ at                                        ☐    a.m.        ☐     p.m.    on

            ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ before 2 p.m. on
            ☐ as notified by the United States Marshal.
            ☐ as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:


           Defendant delivered on                                                     to


at                                                  , with a certified copy of this judgment.




                                                                             ______________________________________________________
                                                                                                UNITED STATES MARSHAL

                                                                         By ______________________________________________________
                                                                                            DEPUTY UNITED STATES MARSHAL
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                        Sheet 3 – Supervised Release

 DEFENDANT:            JASON WILLIAM CATHCART
 Case Number:          1:16-CR-02044-SAB-1


                                                        SUPERVISED RELEASE
Upon release from imprisonment, you shall be on supervised release for a term of:     Life




                                                  MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance, including marijuana, which remains illegal under federal law.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☐ The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
 4.   ☒     You  must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.   ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
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                        Sheet 3A – Supervised Release

 DEFENDANT:            JASON WILLIAM CATHCART
 Case Number:          1:16-CR-02044-SAB-1

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
       your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
       different time frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
       how and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
 4.    You must be truthful when responding to the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
       from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
       officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
       or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
       officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
  9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
 12.   If this judgment imposes restitution, a fine, or special assessment, it is a condition of supervised release that you pay in
       accordance with the Schedule of Payments sheet of this judgment. You shall notify the probation officer of any material change
       in your economic circumstances that might affect your ability to pay any unpaid amount of restitution, fine, or special
       assessments.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                            Date
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                        Sheet 3D – Supervised Release

 DEFENDANT:            JASON WILLIAM CATHCART
 Case Number:          1:16-CR-02044-SAB-1

                                       SPECIAL CONDITIONS OF SUPERVISION
1. You must not communicate, or otherwise interact, with A.C. and G.G., either directly or through someone else, without first
obtaining the permission of the probation officer. You must not enter the premises or loiter within 1000 feet of the victims’ residence
or place of employment.

2. You must not have direct contact with any child you know or reasonably should know to be under the age of 18, including your
own children, without the permission of the probation officer. If you do have any direct contact with any child you know or reasonably
should know to be under the age of 18, including your own children, without the permission of the probation officer, you must report
this contact to the probation officer within 24 hours. Direct contact includes written communication, in-person communication, or
physical contact. Direct contact does not include incidental contact during ordinary daily activities in public places.

3. You must not be employed in any occupation, business, or profession, or participate in any volunteer activity which provides access
to children under the age of 18, unless authorized by the supervising officer.

4. You must not act as a consultant or advisor to individuals or groups engaged in any computer-related activity.

5. You must not be employed in, directly or indirectly, or perform services for, any entity engaged in a computer, computer software,
or telecommunications business. You must not be employed in any capacity wherein you have access to computers or computer-
related equipment or software without the approval of your supervising officer.

6. You must not use any software program or device designed to hide, alter or delete records/logs of your computer usage, Internet
activities, or the files stored on the assigned computer. This includes the use of encryption, steganography (the art and science of
hiding a message in a medium, such as a digital picture or audio file, so as to defy detection), and cache/cookie removal software.

7. You must only use your true name and identifiers (such as date of birth, social security number, driver’s license number) for
purposes of establishing credit, screen names, utility services, including any services related to computer or electronic equipment or
contracts, and registration related to computer-related activities.

8. You must maintain a complete and current inventory of your computer equipment and provide it to the supervising officer. You
must provide a monthly record of computer usage and bills pertaining to computer access to the supervising officer.

9. You must not view or possess any visual depictions (as defined in 18 U.S.C. § 2256), including any photograph, film, video,
picture, or computer or computer-generated image or picture, whether made or produced by electronic, mechanical, or other means, of
sexually explicit conduct (as defined in 18 U.S.C. § 2256).

10. You must provide a complete record of all passwords and user identifications (both past and present) to the supervising officer and
must not make any changes without the prior approval of the supervising officer.

11. You must not install new hardware or effect repairs on your computer system without advance permission from the supervising
officer.

12. You must allow the probation officer to install computer monitoring software on any computer (as defined in 18 U.S.C. §
1030(e)(1)) you use.

13. To ensure compliance with the computer monitoring condition, you must allow the probation officer to conduct initial and periodic
unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to computer monitoring. These searches shall
be conducted to determine whether the computer contains any prohibited data prior to installation of the monitoring software, whether
the monitoring software is functioning effectively after its installation, and whether there have been attempts to circumvent the
monitoring software after its installation. You must warn any other people who use these computers that the computers may be subject
to searches pursuant to this condition.

14. You may access on-line "computer," or Internet services, except that you must not access any on-line computer or Internet
services, sites, or media that include or feature material that depicts "sexually explicit conduct" involving adults or "minor[s]," "child
pornography," or "visual or auditory depictions" of "minor[s]" engaged in "sexually explicit conduct," all as defined in 18 U.S.C. §
2256.
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                        Sheet 3D – Supervised Release


15. You must submit your computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic communications or data storage
devices or media, to a search. You must warn any other people who use these computers or devices capable of accessing the Internet
that the devices may be subject to searches pursuant to this condition. A probation officer may conduct a search pursuant to this
condition only when reasonable suspicion exists that there is a violation of a condition of supervision and that the computer or device
contains evidence of this violation. Any search will be conducted at a reasonable time and in a reasonable manner.

16. You must allow the probation officer, or designee, to conduct random inspections, including retrieval and copying of data from
any computer, or any personal computing device that you possess or have access to, including any internal or external peripherals.
This may require temporary removal of the equipment for a more thorough inspection. You must not possess or use any public or
private data encryption technique or program. You must purchase and use such hardware and software systems that monitor your
computer usage, if directed by the supervising officer.

17. You must live at an approved residence, and must not change your living situation without advance approval of the supervising
officer.

18. You must not possess any type of camera or video recording device.

19. You must not reside or loiter within 500 feet of places where children congregate, which includes playgrounds, primary and
secondary schools, city parks, daycare centers, and arcades.

20. You must submit to periodic polygraph testing at the discretion of the probation officer as a means to ensure that you are in
compliance with the requirements of your supervision or treatment program.

21. You are prohibited from possessing or manufacturing any material, including videos, magazines, photographs, computer-generated
depictions, or any other media that depict sexually explicit conduct involving children or adults, as defined at 18 U.S.C. § 2256(2).
You must not enter any establishment involved in the sex industry, including but not limited to adult bookstores, massage parlors, and
strip clubs. You must not utilize any sex-related adult telephone numbers. The supervising officer is authorized to monitor compliance
in this area by obtaining relative records including but not limited to telephone, Internet, credit cards and bank statements.

22. The defendant shall report to the Probation Office any and all electronic communications service accounts [as defined in 18 U.S.C.
§ 2510(15)] used for user communications, dissemination and/or storage of digital media files (i.e. audio, video, images). This
includes, but is not limited to, email accounts, social media accounts, and cloud storage accounts. The defendant shall provide each
account identifier and password, and shall report the creation of new accounts, changes in identifiers and/or passwords, transfer,
suspension and/or deletion of any account within 5 days of such action. Failure to provide accurate account information may be
grounds for revocation. The Probation Office is permitted to access and search any account(s) using the defendant's credentials
pursuant to this condition only when reasonable suspicion exists that the defendant has violated a condition of his supervision and that
the account(s) to be searched contain evidence of this violation.

23. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation officer, at a
sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
Failure to submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the premises
may be subject to search.

24. You must complete a sex offender evaluation, which may include psychological and polygraph testing. You must pay according to
your ability and allow the reciprocal release of information between the evaluator and supervising officer.

25. You must actively participate and successfully complete an approved state-certified sex offender treatment program. You must
follow all lifestyle restrictions and treatment requirements of the program. You must participate in special testing in the form of
polygraphs, in order to measure compliance with the treatment program requirements. You must allow reciprocal release of
information between the supervising officer and the treatment provider. You must pay for treatment and testing according to your
ability.

26. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
further order of the court. You must contribute to the cost of treatment according to your ability to pay. You must allow full reciprocal
disclosure between the supervising officer and treatment provider.
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                        Sheet 3D – Supervised Release
27. You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must abstain from alcohol
and must submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more than 6 tests per month, in
order to confirm continued abstinence from this substance.
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                           Sheet 5 – Criminal Monetary Penalties

    DEFENDANT:            JASON WILLIAM CATHCART
    Case Number:          1:16-CR-02044-SAB-1

                                               CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                  Restitution          Fine                      AVAA Assessment*           JVTA Assessment**
    TOTALS         $200.00                     $.00                 $.00                      $.00                       $ TBD

    ☐ The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to 18 U.S.C. § 3573(1) because
         reasonable efforts to collect this assessment are not likely to be effective and in the interests of justice.
    ☒    The determination of restitution is deferred until 7/26/2021 . An Amended Judgment in a Criminal Case (AO245C) will be
         entered after such determination.
    ☐    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
           the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
           before the United States is paid.


Name of Payee                                                         Total Loss***           Restitution Ordered       Priority or Percentage




    ☐ Restitution amount ordered pursuant to plea agreement            $

    ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
    ☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      ☐ the interest requirement is waived for the       ☐ fine                               ☐ restitution
      ☐ the interest requirement for the                 ☐ fine                               ☐ restitution is modified as follows:


*   Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                         Sheet 6 – Schedule of Payment

 DEFENDANT:             JASON WILLIAM CATHCART
 Case Number:           1:16-CR-02044-SAB-1

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A ☐         Lump sum payments of $                                      due immediately, balance due
   ☐         not later than                                                        , or
   ☐         in accordance with        ☐ C, ☐ D, ☐ E, or        ☐ F below; or
 B ☒         Payment to begin immediately (may be combined with ☐ C, ☐ D, or                              ☒ F below); or
 C ☐         Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                              (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or
 D     ☐     Payment in equal    (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                                (e.g., months or years), to commence            (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or
 E     ☐     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F     ☒     Special instructions regarding the payment of criminal monetary penalties:

     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S.
District Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐ Joint and Several1
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.

 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☒ The defendant shall forfeit the defendant's interest in the following property to the United States:
        As outlined in the Final Order of Forfeiture.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
